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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


   In Re: AUTOMOTIVE PARTS                           12-md-02311
   ANTITRUST LITIGATION                              Honorable Marianne O. Battani


   ALL PARTS


   THIS RELATES TO: ALL CASES
                                          /


         JULY 3, 2014, ELECTRONIC CASE MANAGEMENT PROTOCOL ORDER

          On August 29, 2012, the Court entered its Electronic Case Management Protocol

   Order, with an effective date of September 10, 2012, to simplify the electronic case filing

   (“ECF”) system in Automotive Parts Antitrust Litigation. The Court has amended the

   ECF procedures several times to assign numbers to newly added parts. With the filing

   of Case No. 14-10795, involving a putative class of municipalities and other public

   entities, the Court amends the protocol as follows:

          1. The “Master Case,” 12-md-02311, includes all cases involving automotive

   parts antitrust actions that are transferred to the Court by the Judicial Panel on

   Multidistrict Litigation (“JPML”) or otherwise consolidated or coordinated with other

   matters before the Court under the Master Case, 12-md-02311.

          2. The Master Case includes “Lead Cases” relating to specific parts. The Lead

   Cases are designated by a five digit number: the first three digits are associated with

   the particular part; the last two digits–00–reflect that the case is the lead case.

          3. The Lead Cases include “Class Cases” for each particular putative class of
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   plaintiffs and also include “Miscellaneous Cases” that do not fall within any putative

   class. The inclusion of Class Cases and Miscellaneous Cases in each specific part may

   only reflect a place holding function and will be populated if and when an individual case

   falling into the designation is filed.

          4. The Class Cases include the following:

                  Direct Purchaser Action, designated with the last two digits–01;

                  Dealership Action, designated with the last two digits–02;

                  End-Payor Action, designated with the last two digits–03;

                  Public Entities, designated with the last two digits–06.

          5. The Miscellaneous Cases include the following:

                  OEM plaintiffs, for example, Ford Motor Company, designated with the

                  last two digits–04;

                  State Attorneys General plaintiffs, such as the State of Florida, designated

                  with the last two digits–05;

          6. Within each Class Case or Miscellaneous Case, there will be individual

   member cases referred to as “Individual Cases.” These are the originally filed

   individual complaints that will retain the originally assigned case numbers. Accordingly,

   the cases will be organized as follows:




                                                 2
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   MASTER DOCKET (“MASTER CASE”)             In Re: AUTOMOTIVE PARTS
                                             ANTITRUST LITIGATION
                                                 12-md-02311



   LEAD CASE             WIRE HARNESS                            2:12-cv-00100

    Class Case             Direct Purchaser Actions              2:12-cv-00101

    Class Case             Dealership Actions                    2:12-cv-00102

    Class Case             End-Payor Actions                     2:12-cv-00103

    Miscellaneous Case     OEMs                                  2:13-cv-00104

    Miscellaneous Case     States Attorneys General              2:13-cv-00105

    Class Case             Public Entities                       2:14-cv-00106

    LEAD CASE             INSTRUMENT PANEL CLUSTERS              2:12-cv-00200

    Class Case             Direct Purchaser Actions              2:12-cv-00201

    Class Case             Dealership Actions                    2:12-cv-00202

    Class Case             End-Payor Actions                     2:12-cv-00203

    Miscellaneous Case     OEMs                                  2:12-cv-00204

    Miscellaneous Case     States Attorneys General              2:13-cv-00205

    Class Case             Public Entities                       2:14-cv-00206

    LEAD CASE             FUEL SENDERS                           2:12-cv-00300

    Class Case            Direct Purchaser Actions               2:12-cv-00301

    Class Case            Dealership Actions                     2:12-cv-00302

    Class Case            End-Payor Actions                      2:12-cv-00303

    Miscellaneous Case     OEMs                                  2:13-cv-00304


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    Miscellaneous Case     States Attorneys General           2:13-cv-00305


    Class Case             Public Entities                    2:14-cv-00306

    LEAD CASE             HEATER CONTROL PANELS               2:12-cv-00400

    Class Case             Direct Purchaser Actions           2:12-cv-00401

    Class Case              Dealership Actions                2:12-cv-00402

    Class Case             End-Payor Actions                  2:12-cv-00403
    Miscellaneous Case     OEMs                               2:13-cv-00404

    Miscellaneous Case     States Attorneys General           2:13-cv-00405

    Class Case             Public Entities                    2:14-cv-00406

    LEAD CASE             BEARINGS                            2:12-cv-00500


    Class Case              Direct Purchaser Actions          2:12-cv-00501

    Class Case              Dealership Actions                2:12-cv-00502
    Class Case              End-Payor Actions                 2:12-cv-00503

    Miscellaneous Case     OEMs                               2:13-cv-00504

    Miscellaneous Case     States Attorneys General           2:13-cv-00505

    Class Case             Public Entities                    2:14-cv-00506

    LEAD CASE              OCCUPANT SAFETY SYSTEMS            2:12-cv-00600


    Class Case             Direct Purchaser Actions           2:12-cv-00601

    Class Case             Dealership Actions                 2:12-cv-00602

    Class Case             End-Payor Actions                  2:12-cv-00603

    Miscellaneous Case     OEMs                               2:13-cv-00604

    Miscellaneous Case     States Attorneys General           2:13-cv-00605



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    Class Case             Public Entities                    2:14-cv-00606

    LEAD CASE              ALTERNATORS                        2:13-cv-00700

    Class Case             Direct Purchaser Actions           2:13-cv-00701

    Class Case             Dealership Actions                 2:13-cv-00702

    Class Case             End-Payor Actions                  2:13-cv-00703

    Miscellaneous Case     OEMs                               2:13-cv-00704

    Miscellaneous Case     States Attorneys General           2:13-cv-00705

    Class Case             Public Entities                    2:14-cv-00706

    LEAD CASE              ANTI-VIBRATIONAL RUBBER PARTS      2:13-cv-00800


    Class Case             Direct Purchaser Actions           2:13-cv-00801

    Class Case             Dealership Actions                 2:13-cv-00802

    Class Case             End-Payor Actions                  2:13-cv-00803

    Miscellaneous Case     OEMs                               2:13-cv-00804

    Miscellaneous Case     States Attorneys General           2:13-cv-00805

    Class Case             Public Entities                    2:14-cv-00806

    LEAD CASE              WINDSHIELD WIPERS                  2:13-cv-00900


    Class Case             Direct Purchaser Actions           2:13-cv-00901

    Class Case             Dealership Actions                 2:13-cv-00902

    Class Case             End-Payor Actions                  2:13-cv-00903

    Miscellaneous Case     OEMs                               2:13-cv-00904

    Miscellaneous Case     States Attorneys General           2:13-cv-00905

    Class Case             Public Entities                    2:14-cv-00906

    LEAD CASE              RADIATORS                          2:13-cv-01000


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    Class Case             Direct Purchaser Actions           2:13-cv-01001

    Class Case             Dealership Actions                 2:13-cv-01002

    Class Case             End-Payor Actions                  2:13-cv-01003

    Miscellaneous Case     OEMs                               2:13-cv-01004

    Miscellaneous Case     States Attorneys General           2:13-cv-01005

    Class Case             Public Entities                    2:14-cv-01006

    LEAD CASE              STARTERS                           2:13-cv-01100


    Class Case             Direct Purchaser Actions           2:13-cv-01101

    Class Case             Dealership Actions                 2:13-cv-01102

    Class Case             End-Payor Actions                  2:13-cv-01103

    Miscellaneous Case     OEMs                               2:13-cv-01104

    Miscellaneous Case     States Attorneys General           2:13-cv-01105

    Class Case             Public Entities                    2:14-cv-01106

    LEAD CASE              AUTOMOTIVE LAMPS                   2:13-cv-01200

    Class Case             Direct Purchaser Actions           2:13-cv-01201

    Class Case             Dealership Actions                 2:13-cv-01202

    Class Case             End-Payor Actions                  2:13-cv-01203

    Miscellaneous Case     OEMs                               2:13-cv-01204

    Miscellaneous Case     States Attorneys General           2:13-cv-01205

    Class Case             Public Entities                    2:14-cv-01206

    LEAD CASE              SWITCHES                           2:13-cv-01300


    Class Case             Direct Purchaser Actions           2:13-cv-01301

    Class Case             Dealership Actions                 2:13-cv-01302


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    Class Case             End-Payor Actions                  2:13-cv-01303

    Miscellaneous Case     OEMs                               2:13-cv-01304

    Miscellaneous Case     States Attorneys General           2:13-cv-01305

    Class Case             Public Entities                    2:14-cv-01306

    LEAD CASE              IGNITION COILS                     2:13-cv-01400

    Class Case             Direct Purchaser Actions           2:13-cv-01401

    Class Case             Dealership Actions                 2:13-cv-01402

    Class Case             End-Payor Actions                  2:13-cv-01403

    Miscellaneous Case     OEMs                               2:13-cv-01404

    Miscellaneous Case     States Attorneys General           2:13-cv-01405

    Class Case             Public Entities                    2:14-cv-01406

    LEAD CASE              MOTOR GENERATOR                    2:13-cv-01500


    Class Case             Direct Purchaser Actions           2:13-cv-01501

    Class Case             Dealership Actions                 2:13-cv-01502

    Class Case             End-Payor Actions                  2:13-cv-01503

    Miscellaneous Case     OEMs                               2:13-cv-01504

    Miscellaneous Case     States Attorneys General           2:13-cv-01505

    Class Case             Public Entities                    2:14-cv-01506

    LEAD CASE              STEERING ANGLE SENSORS             2:13-cv-01600


    Class Case             Direct Purchaser Actions           2:13-cv-01601

    Class Case             Dealership Actions                 2:13-cv-01602

    Class Case             End-Payor Actions                  2:13-cv-01603

    Miscellaneous Case     OEMs                               2:13-cv-01604


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    Miscellaneous Case     States Attorneys General           2:13-cv-01605

    Class Case             Public Entities                    2:14-cv-01606

    LEAD CASE              HID BALLASTS                       2:13-cv-01700


    Class Case             Direct Purchaser Actions           2:13-cv-01701

    Class Case             Dealership Actions                 2:13-cv-01702

    Class Case             End-Payor Actions                  2:13-cv-01703

    Miscellaneous Case     OEMs                               2:13-cv-01704

    Miscellaneous Case     States Attorneys General           2:13-cv-01705

    Class Case             Public Entities                    2:14-cv-01706

    LEAD CASE              INVERTERS                          2:13-cv-01800


    Class Case             Direct Purchaser Actions           2:13-cv-01801

    Class Case             Dealership Actions                 2:13-cv-01802

    Class Case             End-Payor Actions                  2:13-cv-01803

    Miscellaneous Case     OEMs                               2:13-cv-01804

    Miscellaneous Case     States Attorneys General           2:13-cv-01805

    Class Case             Public Entities                    2:14-cv-01806

    LEAD CASE              ELECTRONIC POWERED                 2:13-cv-01900
                           STEERING ASSEMBLIES
    Class Case             Direct Purchaser Actions           2:13-cv-01901

    Class Case             Dealership Actions                 2:13-cv-01902

    Class Case             End-Payor Actions                  2:13-cv-01903

    Miscellaneous Case     OEMs                               2:13-cv-01904

    Miscellaneous Case     States Attorneys General           2:13-cv-01905



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    Class Case             Public Entities                    2:14-cv-01906

    LEAD CASE              AIR FLOW METERS                    2:13-cv-02000

    Class Case             Direct Purchaser Actions           2:13-cv-02001

    Class Case             Dealership Actions                 2:13-cv-02002

    Class Case             End-Payor Actions                  2:13-cv-02003

    Miscellaneous Case     OEMs                               2:13-cv-02004

    Miscellaneous Case     States Attorneys General           2:13-cv-02005

    Class Case             Public Entities                    2:14-cv-02006

    LEAD CASE              FAN MOTORS                         2:13-cv-02100

    Class Case             Direct Purchaser Actions           2:13-cv-02101

    Class Case             Dealership Actions                 2:13-cv-02102

    Class Case             End-Payor Actions                  2:13-cv-02103

    Miscellaneous Case     OEMs                               2:13-cv-02104

    Miscellaneous Case     States Attorneys General           2:13-cv-02105

    Class Case             Public Entities                    2:14-cv-02106

    LEAD CASE              FUEL INJECTION SYSTEMS             2:13-cv-02200

    Class Case             Direct Purchaser Actions           2:13-cv-02201

    Class Case             Dealership Actions                 2:13-cv-02202

    Class Case             End-Payor Actions                  2:13-cv-02203

    Miscellaneous Case     OEMs                               2:13-cv-02204

    Miscellaneous Case     States Attorneys General           2:13-cv-02205

    Class Case             Public Entities                    2:14-cv-02206

    LEAD CASE              POWER WINDOW MOTORS                2:13-cv-02300

    Class Case             Direct Purchaser Actions           2:13-cv-02301


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    Class Case             Dealership Actions                 2:13-cv-02302

    Class Case             End-Payor Actions                  2:13-cv-02303

    Miscellaneous Case      OEMs                              2:13-cv-02304

    Miscellaneous Case      States Attorneys General          2:13-cv-02305

    Class Case             Public Entities                    2:14-cv-02306

    LEAD CASE              AUTOMATIC TRANSMISSION             2:13-cv-02400
                           FLUID WARMERS
    Class Case             Direct Purchaser Actions           2:13-cv-02401

    Class Case             Dealership Actions                 2:13-cv-02402

     Class Case            End-Payor Actions                  2:13-cv-02403
    Miscellaneous Case      OEMs                              2:13-cv-02404

    Miscellaneous Case      States Attorneys General          2:13-cv-02405

    Class Case             Public Entities                    2:14-cv-02406

    LEAD CASE              VALVE TIMING CONTROL               2:13-cv-02500
                           DEVICES
    Class Case             Direct Purchaser Actions           2:13-cv-02501

    Class Case             Dealership Actions                 2:13-cv-02502

    Class Case             End-Payor Actions                  2:13-cv-02503

    Miscellaneous Case      OEMs                              2:13-cv-02504

    Miscellaneous Case      States Attorneys General          2:13-cv-02505

    Class Case             Public Entities                    2:14-cv-02506

    LEAD CASE              ELECTRONIC THROTTLE BODIES         2:13-cv-02600

    Class Case             Direct Purchaser Actions           2:13-cv-02601

    Class Case             Dealership Actions                 2:13-cv-02602

    Class Case             End-Payor Actions                  2:13-cv-02603


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    Miscellaneous Case      OEMs                              2:13-cv-02604

    Miscellaneous Case      States Attorneys General          2:13-cv-02605

    Class Case             Public Entities                    2:14-cv-02606

    LEAD CASE               AIR CONDITIONING SYSTEMS          2:13-cv-02700

    Class Case             Direct Purchaser Actions           2:13-cv-02701

    Class Case             Dealership Actions                 2:13-cv-02702

    Class Case             End-Payor Actions                  2:13-cv-02703

    Miscellaneous Case      OEMs                              2:13-cv-02704

    Miscellaneous Case      States Attorneys General          2:13-cv-02705

    Class Case             Public Entities                    2:14-cv-02706

    LEAD CASE              WINDSHIELD WASHER SYSTEMS          2:13-cv-02800

    Class Case             Direct Purchaser Actions           2:13-cv-02801

    Class Case             Dealership Actions                 2:13-cv-02802

    Class Case             End-Payor Actions                  2:13-cv-02803

    Miscellaneous Case      OEMs                              2:13-cv-02804

    Miscellaneous Case      States Attorneys General          2:13-cv-02805

    Class Case             Public Entities                    2:14-cv-02806

    LEAD CASE              CONSTANT VELOCITY JOINT            2:14-CV-02900
                           BOOT PRODUCTS
    Class Case             Direct Purchaser Actions           2:14-cv-02901

    Class Case             Dealership Actions                 2:14-cv-02902

    Class Case             End-Payor Actions                  2:14-cv-02903

    Miscellaneous Case      OEMs                              2:14-cv-02904

    Miscellaneous Case      States Attorneys General          2:14-cv-02905



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    Class Case                   Public Entities                             2:14-cv-02906


          7. Papers applicable to all antitrust actions involving all automotive parts

    transferred to this Court shall be filed only in 12-md-02311. The following caption shall

    be used:


                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

    In Re: AUTOMOTIVE PARTS                           12-md-02311
    ANTITRUST LITIGATION                              Honorable Marianne O. Battani


    ALL PARTS


    THIS RELATES TO: ALL CASES
                                           /

       8. Papers applicable to all actions relating to a particular part shall be filed only in

    the appropriate Lead Case. The following caption shall be used:




                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

    In Re: AUTOMOTIVE PARTS                           12-md-02311
    ANTITRUST LITIGATION                              Honorable Marianne O. Battani


    In Re: [NAME OF PART] CASES                       2:1[x]-cv-0[xxxx]-MOB-MKM




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    THIS RELATES TO: ALL
    [Name of the Part] CASES
                                       /


       9. Papers only applicable to a specific action relating to a particular

    part shall be filed only in the appropriate Class Case or Miscellaneous Case within the

    appropriate Lead Case. The following caption shall be used:


                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

    In Re: AUTOMOTIVE PARTS                          12-md-02311
    ANTITRUST LITIGATION                             Honorable Marianne O. Battani


    In Re: [NAME OF PART] CASES


    THIS RELATES TO:                                 2:1[x]-cv-0[xxxx]-MOB-MKM
    [NAME OF PUTATIVE CLASS
    CASE OR MISCELLANEOUS
    CASE]
                                       /

       10. By way of example, papers applicable to all complaints relating to Wire

    Harnesses shall be filed only in 2:12-cv-00100, the Lead Case, and not separately in

    the Master Case, 12-md-02311, or in any Class Case, Miscellaneous Case, or

    Individual Case. As a further example, all papers applicable to the Dealership

    Consolidated Amended Complaint relating to Wire Harnesses shall be filed only in the

    Class Case, 2:12-cv-00102, and not separately in the Master Case, or 12-md-02311,

    or the Lead Case, 2:12-cv-00100.

       11. Any paper that is applicable only to an Individual Case or Miscellaneous Case

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    must be filed separately in each applicable Individual Case and (b) the Class Case or

    Miscellaneous Case in which such Individual Case is assigned. The following caption

    shall be used:




                              UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

    In Re: AUTOMOTIVE PARTS                            12-md-02311
    ANTITRUST LITIGATION                               Honorable Marianne O. Battani


    In Re: [NAME OF PART] CASES



    THIS RELATES TO:                                   2:1[x]-cv-0[xxxx]-MOB-MKM

                                                       [Case number of the Class or
                                                         Miscellaneous Case]

    [Name of Plaintiff(s)]                             [List all applicable numbers]

    v.

    [Name of Defendant(s)]

                                         /

         12. To the extent not already accomplished, attorneys shall file appearances in:

                   a.   The Master Case;
                   b.   All applicable Lead Cases in which they represent client(s); and
                   c.   All applicable Class Cases in which they represent client(s).
                   d.   All Miscellaneous Cases in which they represent client(s).


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       13. Attorneys representing client(s) in the Master Case may file appearances as an

    interested party in any Lead Case, Class Case, or Miscellaneous Case where they do

    not represent client(s).

       14. New cases that counsel believe pertain to this Automotive Parts Antitrust

    Litigation should be identified at the time of filing as related to 12-md-02311 on the Civil

    Cover Sheet. Further, counsel shall indicate on the Civil Cover Sheet whether

    counsel believes that the new case should be assigned to an existing Lead Case

    and/or Class Case or Miscellaneous Case or involves a new automotive part requiring

    a new Lead Case, Class Case or Miscellaneous Case.

       15. After the Court reassigns any new or existing cases within the structure of

    12-md-02311, parties shall have twenty-one days to file an objection to the Court’s

    designation.

       16. This Order is without prejudice as to the rights of any party to challenge any

    revision of this protocol involving additional parts or designations.

       17. The electronic protocol shall be effective immediately.

       18. The electronic case management protocol order will not be amended if

    complaints involving new parts are filed. Additional parts will follow the numbering

    protocol in place.

           IT IS SO ORDERED.

    Date: July 3, 2014                                s/Marianne O. Battani
                                                      MARIANNE O. BATTANI
                                                      United States District Judge




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                                                    CERTIFICATE OF SERVICE

    The undersigned certifies that the foregoing Order was served upon counsel of record via the Court's ECF System to their
    respective email addresses or First Class U.S. mail to the non-ECF participants on July 3, 2014.


                                                                                  s/ Kay Doaks
                                                                                  Case Manager




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